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                    IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF VIRGINIA
                             ROANOKE DIVISION


UNITED STATES OF AMERICA                  )
                                          )
               V.                         )       Case No.: 7:23-CR-34
                                          )
     ROBERT LEON KING                     )
               Defendant                  )
                                          )

            ROBERT LEON KING’S SENTENCING MEMORANDUM




      Down in the holler nestled between the hills of the Blue Ridge, minutes from

the famous Cascade Falls Trailhead, lies Robert Leon King’s (Leon) childhood home.

His mother, Ms. Joann Carper, still lives there. Given the size of the town, it is also

minutes from where Mr. King got arrested. The small but comfortable home is

chock-o-block full of items: crosses, religious paintings, figurines, and of course,

family photos. It is stuffed full of memories, both tangible and intangible, but
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incredibly tidy. Among the photos of Ms. Carper singing for her church, her recently

diseased daughter (Mr. King’s sister), and photos of her grandsons, are photos of

Leon – as a child, as a football player, and as a man.

      Among the less than 1,200 residents of Pembroke, if you mention the name

Leon King, they will know who you are talking about.

      Leon is as close to a celebrity as you can get in this small town. Immediately,

Leon is described in two ways: the best football player Giles County had ever seen,

and a kind man who would help anyone who needs it – help asked for or otherwise.

      Surrounded by mountains, nature, and the New River, Pembroke features

humble, neat homes you would expect to find in the country, complete with

residents who love tradition – they prey, they fly the American flag, they watch

football, they fish, and they hunt. They also know all their neighbors. Leon King is

no exception.

      Ms. Carper singlehandedly raised a home of rough and tumble boys and one

daughter and she suffered no arguments. Eventually becoming a pastor, the

community knew her as a tough but kind woman. She worked hard for her family,

but they often had to help out in order to make ends meet. Mr. King did so in big

ways – getting a football scholarship – and in more discreet ways – always helping

his mother out, not letting her do the yard work, being there when she needed him.

      Eventually, Mr. King flamed out. As an adult, he hit a rough patch, but he

came back home. He became known as a devoted father, a reliable neighbor, and a

fixture in the community.



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          Mr. King is not dangerous. He is the opposite. He respects the law and

outside some driving offenses (and attendant probation hiccups), he has not been in

trouble with the law for almost 30-years. He is older and not a risk of recidivism. He

wants to stay out of trouble and help ferry his sons into high school and then,

adulthood. His elderly mother and stepfather need his help. His community loves

him, not just for what he did on the field, but for what he consistently does off the

field, day-in and day-out.

          Mr. Leon King should receive a sentence of time served, or 15 months in

custody. Alternatively, Mr. King respectfully requests a downward departure to 24

months in custody.

          LEON KING: FOOTBALL LEGEND, SON, OUTDOORSMAN
          While his home life was a small one filled with a large amount of love, it was

also the story of a young, working single mother with four children to care and

provide for. Jeff Williams, a lifelong friend, tells the story of his father driving he

and “the King boys” to the corner store after practice.1 The elder Mr. Williams

would tell the boys to get a treat – whatever they wanted. The Williams’ were

thinking of candy or chips or various treats young boys typically get at a corner

store, but Mr. King would always pick up a loaf of bread, bologna, and a carton of

milk. He shared these with his siblings.

          Mr. King grew up loving the things every good Giles County boy grows up

loving: hiking, camping, fishing, and hunting. He rode around on his ATV, learned



1
    As is apropos for Pembroke, the corner store is still there to this day.

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to cook for his Mom, trapped small animals and shot the bigger ones, and his mom

tried to make sure he went to church regularly.

       Ms. Carper, now a retired minister, was at the time working as a nurse, and

she had not yet met Mr. King’s stepfather, Fred Carper2. Despite being busy

making ends meet and raising four children, Ms. Carper attended her sons’ football

games and was well-known at Giles High School.

       It was Mr. King, however, who was the true celebrity. Leon King is still a

name that reverberates in the High School’s hallways. He is living history. Mr.

King, as a star running back, helped lead the home team to a state championship

and perfect season in 1980. In several games, he wore a bandana, a symbol which

became so famous, people would wave bandanas around when Leon King was

playing, and “the bandana gang” was born. The school’s snack shack is named after

the phenomenon started by Mr. King.




2 Indeed, it is a testament to Mr. King that he calls Mr. Carper his stepfather. Joann did not meet

Fred until Mr. King was in his thirties – but Mr. King has since fully taken Fred on as his father,
helping his mother care for him in his frailer state.

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       Eventually, the great Leon King went on to try his hand at college ball at

Grambling State University, playing for the late, great Eddie Robinson. However,

as so many young men and so many young athletes do, Leon King did not make it.

Through either pride or immaturity, he couldn’t cut it – one of his biggest regrets.

He tried to walk on to the (then named) Washington Redskins, but did not make it,

and then his cousin was gravely injured and Mr. King focused on his family.

Ultimately, Mr. King’s football dreams were laid to rest.

3




       All Leon King had ever wanted to do was play football and now that dream

was over. He stayed with his brother in Richmond, Va, for a while, but ultimately

returned to the Western District in Roanoke. As is apparent from Mr. King’s

criminal history, in his thirties, Mr. King was lost and found himself with the wrong

people. He got in trouble. It bears noting that Mr. King’s convictions stemmed from

an Alford plea and a nolo contendre plea respectively. However, he did plead. He did

go to prison, and he was forever saddled with the scarlet letter of “felon.” That

history is behind him – almost 30 years behind him.

       It still follows him around today.




3 From Mr. King’s Grambling State University application.


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                       THE OFFENSE IS RELATIVELY MINOR

         Mr. King is before this Court for a status offense. Not because he is

dangerous, not because he committed any act of violence, and not because he was

selling drugs.4 He is here because a man born and raised in a tiny hamlet in the

country where shooting and hunting is a way of life, had guns. The law as it is

currently written states that Mr. King, by nature of an almost 30-year-old felony,

cannot own guns in his own home.5 He violated that. There is absolutely no

evidence that these guns were used in an unsafe manner, were used in other crimes,

or were for any nefarious purpose.

         Mr. King owned guns in a town where guns are found and sold on almost

every corner. They are a way of life. There are times when a felon in possession of a

gun should be considered a serious violation of the law. This is not one of those

times.

                                                                A store self-proclaimed as the
                                                                      “hunting n fishing
                                                               headquarters,” which sells guns,
                                                                less than 5 minutes from Mr.
                                                                         King’s home.




4 Given the PSR and previous filings from the Government, it is likely an argument will be made

that Mr. King was selling drugs, however, that is far from proven. This stems from a statement
made by an incredibly biased, unreliable witness at grand jury proceedings – Ms. Tonya Martin; and
Mr. King’s statements while speaking to the police, which don’t match reality. (For example: Mr.
King mentions that he might have made $80,000 from meth – it takes one look at Mr. King’s bank
statements, his living situation, and his lifestyle to know that cannot in any way be true). There is
simply no reliable evidence that Mr. King was involved in the drug trade. There is evidence that he
lived with and interacted with those who were involved in that community but association with bad
actors, especially in a town as small as Pembroke, is not evidence of crime itself.
5 As discussed later in this memo, Mr. King also has a felony as a “habitual offender” of Virginia

traffic violations, a felony which no longer exists (this conviction alone is from 15 years ago).

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      Mr. King also owned a gun that was altered, something that even if he were

not a felon, he would have had to register for it to be legal. However, neither is this

evidence of a man planning to use the gun for any dangerous means or a man who

disrespects the law. This gun was found in a stool with a myriad of items consistent

with a collector, in a room reminiscent of a hoarder. This home is evidence of a big

kid – Mr. King kept the things he thought were cool or interesting. Yes, he had a

shortened shotgun, but he also had an antique ball-and-cap gun and a suit of armor.

Those items did not mean he was going to be a reenactor or work at Medieval Times

– he found those items, liked them, and kept them. Just as he did with all of his

guns. Owning these guns and the shotgun in particular does not make Mr. King a

bogeyman planning to rob someone.




                   Photos from the search of Mr. King’s room.
      The Government may try to argue that this was the home where a

Confidential Informant bought drugs. However, this was not Mr. King’s home. He

was staying there to help a cousin and indeed, 5 other people lived there. One

person was Mr. King’s ex-girlfriend and mother of his children, a convicted felon




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and substance abuser, who was ultimately charged with the drugs in the home.6 In

a conversation with counsel, Mr. Jackie Link stated that as bad as the home (1006

Cascade Dr.) looks now, it looked worse before Mr. King got there and “tried to clean

it up.” It is clear that Mr. King was not the person engaging in any sort of drug

trafficking out of the home.

       Mr. King was just trying to live, but his activities (owning guns) were not

dangerous nor a threat to anyone. He broke the law, but only by his status not any

hazardous behavior.

                      MR. KING: PILLAR OF THE COMMUNITY
       Walk around for a day in Pembroke and it is clear that Leon King is not

known for being dangerous and is certainly not known as a villain or criminal. In

fact, in some cases his fabled football career is only mentioned after what he is truly

known for – his kindness.

       Every single person interviewed about Leon King mentioned his willingness

to help out a friend and the benefit he is to those around him. His family explains

that Mr. King was only ever at 1006 Cascade Dr, because his cousin, Timothy

Chapman, needed help at the house. Tonya Martin (also known as Tanya Vaught),

the mother of two of Mr. King’s children, crashed at the house once Mr. King moved

in (as did three other people) because she knew that Mr. King would assist her in

times of need.



6 According to publicly available information on Virginia’s court record website, Ms. Martin was

arrested the same day as Mr. King and charged with possession of a controlled substance. While
counsel does not have records beyond this, it is a safe assumption that Ms. Martin was charged for
any drugs in this home.

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      This is exactly the type of help that people consistently described Mr. King as

performing.



                                                                     An excerpt from a letter
                                                                     provided by Ms. Vicki
                                                                     Smith.




      His uncle, Donnie King, and his Aunt Miriam described Leon as helping

everyone he could. They described a man who was constantly checking in on his

mother, on them, and who assisted an elderly neighbor. Another neighbor, Jackie

Link, described Mr. King thus:




      Indeed, even during Mr. King’s arrest for these current charges, he described

that one of the guns he was found with he had because he was holding for a friend,

who wanted to keep it out of the hands of the friend’s son. This is corroborated by

everything everyone has said about Mr. King and what he does for the community.

In his pre-trial bond report, Mr. King explained that he worked for a restaurant at

one point but wasn’t getting paid – a statement that seems ludicrous at first blush,

until researching Mr. King’s life, and suddenly it becomes apparent that is exactly

the kind of thing Mr. King would do.

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                                                                                    7


          Mr. King is not a danger to the community. He is widely known as the exact

opposite. His presence is a boon to Pembroke and to Giles County at large. This is

not just from the mouths of his family but from everyone – neighbors, friends, police

officers, and coaches.




8


          Mr. King has been described as a pillar of the community because he is.

While he may no longer be the football star nor is he a doctor or lawyer or politician

or pastor like his parents, he has lived his life in a way to prove you do not have to




7 An excerpt from a letter from Brenda Hairston.
8
    An excerpt from a letter from Mark Clark.

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be in order to be a person of character, a person respected and needed in the

community.

                       MR. KING: FATHER, SON, FAMILY MAN
       Mr. King’s sons are following in their football-star father’s footsteps – both

Treyvon and Darius play football after school, and they are excited to have their

Dad back home. Even in jail he talks to them every day and tells his mother not to

spoil them – even though he did when he was out as well. Although Treyvon and

Darius did not live with Mr. King when he was arrested, that was a choice the

family made.

       Mr. King had a contentious, on-and-off again, volatile relationship with

Treyvon and Darius’s mother, Tonya Martin.9 It is because of this relationship that

Mr. King gave custody of his sons to his mother. He did not want Ms. Martin, a

substance abuser, to try using the children against him. When Mr. King moved in

with his cousin, Timothy, to assist him, Ms. Martin approached asking for help and

a place to stay. Mr. King obliged.

       Despite periodically not living under the same roof as Treyvon and Darius,

Mr. King spent time with them every day and is a fixture in their lives. He always

makes sure they do their homework, watched them practice football, taught them

how to fish, went riding on the ATV with them, and even taught them to set traps

for animals. Treyvon and Darius have even brought home some squirrels they’ve



9 Of note, in Mr. King’s PSR, probation cites Ms. Martin’s testimony to the grand jury. Despite her

testimony, Mr. King has never been convicted (or charged) with a drug offense. Ms. Martin, however,
has, and is indeed under state indictment for possession of a controlled substance, stemming from
the same search of the home in which guns owned by Mr. King were found.

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shot with their pellet/bb gun as their grandmother apparently has a wonderful

squirrel recipe – something Mr. King would also do when he was a child. (When

counsel visited, she offered to make squirrel for counsel and Mr. Hancock, the

defense mitigation specialist, one day, but we have yet to take her up on her offer.)

Mr. King is also quite a cook himself and he is often in charge of the family BBQs

hosted in Ms. Carper’s yard.

      As two young boys not even in their teenage years yet, they need and miss

their father.


                                                                A letter from Darius for
                                                                 Mr. King’s (potential)
                                                                    bond rehearing,
                                                                however, the sentiment
                                                                         stands.




                                                                       A letter from
                                                                      Treyvon, also for
                                                                      Mr. King’s bond
                                                                         rehearing.




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      Trayvon and Darius are not the only ones who miss Mr. King. His mother

and stepfather need Mr. King around the house. Ms. Carper is 79 years old, and

Fred just recently turned 81. While Ms. Carper is relatively spry for her age – she

still maintains a large vegetable garden and the couple attend church regularly, Mr.

Carper is wheelchair-bound and they relied on Mr. King for help surrounding much

of the daily chores and living required. Mr. King’s two German Shepherds, who

needed to be moved from the house where Mr. King was arrested, currently live

with the Carpers, and they just got a puppy. It is a full house.

      There is, however, as always, a room waiting for Leon King.




                                                                       The room that was Mr.
                                                                        King’s, and where he
                                                                        stays when with his
                                                                               mother.




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    MR. KING’S CRIMINAL HISTORY POINTS OVERESTIMATE HIS RECENT
                         CRIMINAL HISTORY

      Mr. King should not receive three points for his violation of the Virginia

Habitual Offender law.

      The Fourth Circuit has noted that criminal history is “one of the most flexible

concepts in the guidelines” because of the difficulty of precisely evaluating the

“countless possible permutations of criminal history.” United States v. Murray, No.

4:16CR64, 2017 WL 786272, at *4 (E.D. Va. 2017). Courts have granted downward

departures to lower Criminal History Categories when the defendant’s record

consisted primarily of non-violent offenses. See United States v. Nelson, 166 F.

Supp. 2d 1091, 1099 (E.D. Va. 2001).

      Mr. King received 3 points for his 2008 conviction of “habitual offender” – a

second time driving with a suspended license. (He has since got his license back).

He originally received, after suspended time, 1 year incarceration. If no probation

violations on this charge existed, it would have earned Mr. King 2 points for

criminal history and would have “expired” completely for purposes of criminal

history categorization in 2019. USSG §4A1.1. However, Mr. King racked up several

probation violations on this charge, which extended his incarceration time and

extended it past the 10-year “expiration” time frame, earning him 3 points for

criminal history. However, this law was repealed in 2021. It no longer exists. It was

repealed before Mr. King was ever arrested on the current charge. For this reason,

given the nature of the law (driving violations), the fact that it was repealed, and

save for probation violations (which Mr. King would never have been on given the


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state of today’s law) this charge would not be counted in criminal history, the Court

should grant a downward departure and consider Mr. King a Category I for

purposed of criminal history categorization.

     MR. KING SHOULD NOT RECEIVE TWO POINTS FOR OWNING A
                     DESTRUCTIVE DEVICE
      Mr. King should not receive a 2-point enhancement for owning a destructive

device in connection to this offense. USSG § 2K2.1, defines destructive device as the

meaning given that term in 26 U.S.C. § 5845(f). 26 U.S.C. § 5845(f) specifically

states that, “[t]he term “destructive device” shall not include any device which is

neither designed nor redesigned for use as a weapon…” While blasting caps could

potentially be seen as a “similar device,” to the ones listed earlier in the definition of

26 U.S.C. § 5845(f), they were neither designed nor redesigned as a weapon and

thus do not fit the definition of a destructive device under 26 U.S.C. § 5845(f) or

USSG § 2K2.1.

      Even if they do meet the definition, it is clear Mr. King did not know what

they were. As seen in the picture above, the blasting caps looked like a bundle of

wires (and they were thrown in with a bunch of other items in a stool

compartment). They needed to be attached to a car battery in order to even work,

and Mr. King himself stated, “I didn’t even know what they was.” Probation believes

knowledge does not matter and that ownership is enough. However, there is reason

to believe knowledge is necessary for the 2-point enhancement.

      First, from a policy perspective, if knowledge is not needed then a parade of

horribles could occur – throwing enhancements on people who are blissfully


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ignorant. It cannot be that an enhancement and thus additional YEARS in jail can

stem from unknowingly possessing something. If Mr. King owned a certain type of

firework to celebrate the Fourth of July, would that count? If it did, and he did not

understand that firework was a destructive device, should he receive years in jail?

What if someone gave him an antique or mock grenade, the kind sold in every

battleground souvenir shop, but it turns out, through no fault of Mr. King, this was

real – does he deserve years on his sentence?

      Backing away from hypotheticals, however, the Guidelines themselves seem

to imply that knowledge is a requirement. In the Commentary of USSG § 2K2.1, the

Commission discusses the state of mind of an offender, specifically regarding

subsection (b)(4)(A), and states that an enhancement for a stolen firearm or

obliterated serial number applies whether or not the offender knew of the fact. The

Commission clearly considered knowledge with regard to these enhancements and

clarified that this specific enhancement does not need a person’s knowledge. If

owning a destructive device did not require a person’s knowledge, the Commission

would have stated so, as it did with regard to stolen firearms/obliterated serial

numbers. Expressio unius est exclusio alterius.

      The plus 2 enhancement for “involving destructive devices” should not apply.

   MR. KING’S AGE WARRANTS A DOWNWARD DEPARTURE, WHICH IS
 SPECIFICALLY CONTEMPLATED BY THE US SENTENCING GUIDELINES

      Mr. King celebrated his 61st birthday behind bars in the Roanoke City Jail.

According to USSG § 5H1.1, “Age may be a reason to depart downward in a case in

which the defendant is elderly and infirm and where a form of punishment such as


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home confinement might be equally efficient as and less costly than incarceration.”

While Mr. King would certainly take issue with being labeled as old and infirm10,

his age is specifically contemplated by the United States Sentencing Commission as

a reason to vary downward from the Guidelines. This makes sense as the

Commission has found that older offenders recidivate at rate less than half of those

people who were under the age of 50 (21.3 percent versus 53.4 percent).11 Taking

Mr. King’s age into consideration would prevent severe sentencing disparities, even

if substantially varying under the prescribed guidelines, as “roughly a third (31.3%)

of offenders 65 through 69 and more than 40 percent (42.1%) of offenders 70 and

older received an alternative sentence or fine.”12

          Mr. King is a rarity in the Federal system – in 2021, only 12.9 percent of

those convicted of a federal offense were 50 or older and of those, only about 16

percent were aged 60-64. Thus, Mr. King, a man in the upper echelon of ages

convicted in the federal system, who also suffers from diabetes, hypertension, and

herniated discs, is the exact type of person for whom the guidelines themselves

envision a downward departure.

          Certainly, he is unlikely to recidivate, just by nature of his age, and no one

believes that Mr. King’s life should be shortened, or his health should suffer because

of a status crime, but that is exactly what a long prison sentence would do to

someone in Mr. King’s condition as “the aging process accelerates once an offender



10 His counsel apologizes.
11
     Older Offenders in the Federal System, USSC 2022 July,
12 Id.


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is incarcerated and offenders can feel relatively old at a younger age and physical

changes may stand out earlier.”13




14

         It is clear that life behind bars for an aging inmate does not just effect their

quality of life, but prison shortens their life.

         Besides the fact that Mr. King’s age makes him substantially more likely to

suffer in prison, but substantially less likely to recidivate, it is unquestionable that

prison has an adverse effect on someone’s health. This is not in dispute; it is a fact.

Those in prison are more likely to have a host of medical issues when compared to

the general population,15 incarceration itself can cause a host of lasting mental

health conditions16, and those in the BOP are not receiving adequate medical care.17

         In the world outside prison walls, a man with Mr. King’s conditions and at

his age is able to live a relatively normal life if he focuses on his health, improving

his lifestyle, and abides by doctor’s orders. In prison, that is almost impossible. To



13   Older Offenders in the Federal System, USSC 2022 July, Pg 2.
14 Prison Health Care Crisis Mounts as Incarcerated Population Ages, EQUAL JUSTICE INITIATIVE,

May 14, 2024, https://eji.org/news/prison-health-care-crisis-mounts-as-incarcerated-population-ages/
15 Incarceration, HEALTHY PEOPLE 2030, https://health.gov/healthypeople/priority-areas/social-

determinants-health/literature-
summaries/incarceration#:~:text=Studies%20have%20shown%20that%20when,%2C%20hepatitis%2
0C%2C%20and%20HIV “Studies have shown that when compared to the general population, people
of both sexes who are incarcerated are more likely to have high blood pressure, asthma, cancer,
arthritis, and infectious diseases, such as tuberculosis, hepatitis C, and HIV.”
16 Katie Rose Quandt and Alexi Jones, Research Roundup: Incarceration can cause lasting damage to

mental health, PRISON POLICY INITIATIVE, May, 13, 2021,
https://www.prisonpolicy.org/blog/2021/05/13/mentalhealthimpacts/
17 Meg Anderson, Lawmakers push for federal prison oversight after reports of inadequate medical

care, NPR, Dec. 13, 2023, https://www.npr.org/2023/12/12/1218627629/lawmakers-push-for-federal-
prison-oversight-after-reports-of-inadequate-medical-

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be a healthy individual, Mr. King would have to rely on luck and beating the odds

just to ensure his condition does not worsen.

      Mr. King should not spend his golden years behind bars.

                                    CONCLUSION

      Mr. King should not spend any more time than he already has behind bars.

Defense is requesting the Court sentence Mr. King to time served or 15 months.

That is a sentence that is sufficient but not greater than necessary. However,

should the Court feel the need to sentence to a guidelines sentence, Mr. King’s

Guidelines should be calculated without the plus 2 enhancement for destructive

devices and with a downward departure from a Criminal History Category II to a

Criminal History Category I. Thus Mr. King’s guidelines would be 30-37 months.

Considering Mr. King’s age (in conjunction with his underlying health issues) and

his unlikelihood to recidivate the Court should further depart downward from that

number, as the U.S. Sentencing Commission specifically contemplated. Thus, if the

Court is unwilling to sentence Mr. King to time served, Defense respectfully

requests a sentence of 24 months.

      This sentence departs downward from 30-37 months and includes a 6-month

downward departure for his advanced age. As described above, elderly offenders

often receive an alternative sentence or fine.

      However, Mr. King’s history, character, his offense conduct, his standing in

the community, the needs of his family, and the purposes of sentencing, dictate that




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a sufficient sentence, a reasonable sentence guided by justice, would be one of time

served. That is what Mr. King respectfully asks the Court to sentence him to.



In support of this Memorandum Mr. King presents the following Exhibits:

Exhibit 1: A video created by Mr. Matthew Hancock

Exhibit 2: A Letter from William T. Link (AKA Jack or Jackie Link)

Exhibit 3: A Letter from Ms. Joann Carper

Exhibit 4: Letters from Mr. King’s Sons

Exhibit 5: A Letter from Brenda Hairston

Exhibit 6: A Letter from Carolyn Robertson

Exhibit 7: A Letter from Mark Clark

Exhibit 8: A Letter from Vickie Smith



Respectfully submitted,
                                               ROBERT LEON KING


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